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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K

L E S LI E G A M B A R D E L L A,

                                     Pl ai ntiff,
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                                                                                          E CF CASE
                        a g a m st                                                        OR DER


T RI C A M I N D U S T RI E S, I N C,. A               Nd
H O M E D E O P O T U. S. A., I N C.
                                                D ef e n d a nt s.



             _ _ _ _ _ _ _ _ _ _ _ _ _ O R D E R G R A N TI N G P L A T N TI F F', S M O T T O N F O R
                I P R O P O S E DI
                                                   S T' B S TI T U TI O N

             T HI S M A T T E R, h a vi n g c o m e b ef or e t h e C o urt o n Pl ai ntiff           s   m oti o n f or e ntr y      of

a n Or d er u n d er R ul e 2 5 of t h e F e d er al R ul e s of        Ci vil Pr o c e d ur e, gr a nti n g Pl ai ntiff s

m oti o n t o s u b stit ut e J o s e p h G a m b ar d ell a f or d e c e a s e d Pl ai ntiff L e sli e G a m b ar d ell a a s

A d mi ni str at or of t h e E st at e of L e sli e G a m b ar d ell a i n t hi s pr o c e e di n g, a n d t h e C o urt

h a vi n g c o n si d er e d t h e s u b mi s si o n s i n s u p p ort of a n d i n o p p o siti o n (if a n y) t o t h e M oti o n,

a n d t h e C o urt h a vi n g f o u n d g o o d c a u s e f or t h e r eli ef s o u g ht i n t h e M oti o n,    it i s h er e b y

O R D E R E D t h at t h e M oti o n i s G R A N T E D.


S O O R D E R E D.

D at e d:      J a n u ar y 8                  ,2021
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                                                                     H O N O R A B L E VI N C E N T L. B RI C C E T TI
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